Case 2:05-cr-20054-.]DB Document 71 Filed 08/29/05 Page 1 of 3 Page|D 94

IN THE UNITED S'I`ATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION 05 mm 29 an 531*2

 

 

UNITED STATES OF` AMERICA
Plaintiff,

V'.

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,O`to.r\ u°\rr\`bov‘\

Criminal No.O$ - ZQC]jE Ml

(30-Day Continuance)

 

 

 

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Defendant (s) .

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated. by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the September,
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, Sentember 23. 2005, with trial to take place
on the October, 2005 rotation calendar with the time excluded under
the Speedy Trial Act through October 14, 2005. Agreed in open court

at report date this 26';h day of August, 2005.

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with Ru\e 55 and

Case 2:05-cr-20054-.]DB Document 71 Filed 08/29/05 Page 2 of 3 Page|D 95

30 ORDERED this 26th day of August, 2005.

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JON PHIPPS MCCALLA
UN ED STA'I`ES DISTRIC'I` JUDGE

’:ITK/,M Qf¢»/
/?/M

AssistanE'United States Attorney

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Counsel for Defendant(s)

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 71 in
case 2:05-CR-20054 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

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Honorable J on McCalla
US DISTRICT COURT

